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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Katelyn Ebner, et al.,

                         Plaintiffs,   Case No. 1:17-cv-03722

v.                                     Michael L. Brown
                                       United States District Judge
Cobb County and Officer Tracy
Carroll,

                         Defendants.

________________________________/

                                  ORDER

     This case involves four traffic stops that Defendant Officer Tracy

Carroll of the Cobb County Police Department conducted in the spring of

2016. Officer Carroll stopped each Plaintiff for rather mundane traffic

violations.   In each instance, he conducted a further investigation,

believed each Plaintiff exhibited signs of marijuana use, and arrested

each for driving under the influence or similar charges. Subsequent drug

tests revealed that none of the Plaintiffs had used marijuana. Plaintiffs

sued Officer Carroll and Cobb County for violating their Fourth
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Amendment rights. Defendants moved for summary judgment. (Dkt.

60.) The Court grants their motion.

I.   Factual Background

     The parties have provided the Court with extensive facts they claim

are material. Many of those facts are utterly irrelevant.1 The Court has

distilled the facts into those that are undisputed and material to the

Court’s determination.

     A.    Plaintiffs’ Traffic Stops

     As explained, this case involves four traffic stops that Defendant

Officer Carroll of the Cobb County Police Department (“CCPD”)

conducted in 2016.       The circumstances surrounding each stop are

relatively similar. But the Court’s analysis turns on the individual facts




1
  Plaintiff allege, for example, that on the day of her arrest Plaintiff
Mbamara “was looking forward to meeting with her friends because she
had been fasting for religious purposes and was finally going to break her
fast and eat.” (Dkt. 65-2 ¶ 92.) Her anticipation of meeting friends is not
material to the issue of whether Officer Carroll mistreated her during the
traffic stop. Plaintiffs also submitted sixty-four pages of facts they claim
are in dispute and that preclude summary judgment. (Dkt. 65-2.) Many
of their 315 “disputed” facts duplicate Defendants’ 246 facts. (See Dkt.
60-2.) This is not how summary judgment or the statement of facts is
supposed to work, the purpose of which is to aid the decision-making
process by narrowing those facts pertinent to the Court’s determination.


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of each. Plaintiffs hired an expert to review the circumstances of each

stop and arrest. Their expert, Joshua Ott, is a former law enforcement

officer who provides expert services on impaired driving and accident

reconstruction. (Dkts. 60-2 ¶¶ 87–88; 65-1 ¶¶ 87–88.) He agrees that

Officer Carroll was well trained on impaired driving recognition and

traffic enforcement. (Dkts. 60-2 ¶ 80; 65-1 ¶ 80.) He further agrees that

an officer can have probable cause for believing someone is driving under

the influence (of either drugs or alcohol) even though a subsequent test

shows the driver was not under the influence. (Dkts. 60-2 ¶ 88; 65-1

¶ 88.) Finally, he does not dispute Defendants’ claim that probable cause

existed to arrest each of the four Plaintiffs for impaired driving. (Dkts.

60-2 ¶ 94; 65-1 ¶ 94.)

           1.    Plaintiff Katelyn Ebner

     A few minutes before midnight on Thursday, April 7, 2016, Plaintiff

Ebner was driving home from work at a Mexican restaurant in

Kennesaw. (Dkts. 60-2 ¶¶ 95–96; 65-1 ¶¶ 95–96.) As she approached an

intersection and waited at a stoplight, Officer Carroll pulled up behind

her. (Dkts. 60-2 ¶ 99; 65-1 ¶ 99.) When the light turned green, both

vehicles turned left. Officer Carroll testified that he saw Ebner cross the



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double yellow line while making the turn. (Dkts. 60-2 ¶ 100; 65-1 ¶ 100.)

He then saw her cross over the white fog line on the right-hand side of

the road.   Ebner continued driving along the white fog line on the

shoulder for about six seconds before returning to the proper lane of

travel. (Dkts. 60-2 ¶ 101; 65-1 ¶ 101.) Based on these observations,

Officer Carroll activated his blue lights and stopped Plaintiff Ebner.

(Dkts. 60-2 ¶ 102; 65-1 ¶ 102.)

     Plaintiff Ebner does not dispute the officer’s claim that she made

an improper turn.       She admitted she “would agree she turned

improperly.” (Dkts. 56-3 at 38:9–11, 40:8; 60-2 ¶ 10; 65-1 ¶ 10.) Having

reviewed the dashcam footage, Plaintiffs’ expert also agrees that Ebner

crossed the double yellow line and white fog line. (Dkts. 60-2 ¶ 104; 65-

1 ¶ 104.)

     After stopping her, Officer Carroll noticed that Plaintiff Ebner’s

eyes were watery; another fact she does not dispute. (Dkts. 60-2 ¶¶ 106–

107; 65-1 ¶¶ 106–107; 65-2 ¶ 5; 72 ¶ 5.) Plaintiff Ebner provided several

reasons for having watery eyes, including having recently cleaning the

chip machine at the restaurant where she worked. (See Dkt. 65-2 ¶¶ 8–

9.) Officer Carroll shined a flashlight in Ebner’s eyes to observe her pupil



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size and rebound dilation and also saw that she had eyelid tremors, more

signs of cannabis consumption. He asked her to step out of the vehicle

and then to pull her eyelids down. He observed “marked reddening of

her conjunctiva,” which he had been trained to recognize as a general

indicator of cannabis consumption.2      (Dkts. 60-2 ¶ 111; 65-1 ¶ 111.)

Officer Carroll told Plaintiff Ebner about her driving mistakes and

expressed concern over her ability to drive safely. He asked if she had

consumed alcohol while at work, and Plaintiff Ebner said she had not.

(Dkts. 65-2 ¶ 25; 72 ¶ 25.) He then asked her to perform voluntary field

evaluations. (Dkts. 60-2 ¶ 114; 65-1 ¶ 114.) She agreed to do so.3




2  Plaintiffs dispute that these are reliable indicators of cannabis
consumption. (Dkts. 60-2 ¶¶ 108–109, 111; 65-1 ¶ 108–109, 111.) In
determining probable cause, however, officers may rely on their training
and need not question it. See United States v. Ballard, 600 F.2d 1115,
1119 (5th Cir. 1979) (“[O]fficers are entitled to rely on their training and
experience in assessing the totality of the circumstances and the
inferences which flow from those circumstances.”). And again, a court
may not assess the situation with the benefit of hindsight.
3
  Because they claim Officer Carroll had no probable cause to stop them
in the first place, Plaintiffs dispute whether Ebner’s consent to the field
evaluations (or the blood test discussed below) were voluntary. They also
dispute the validity of the field tests that Officer Carroll performed. They
do not, however, dispute that his training and experience taught him that
these observations were an indicator of cannabis consumption. (Dkts. 60-
2 ¶ 117; 65-1 ¶ 117.)

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     During the evaluations, Officer Carroll observed four of eight clues

suggesting impairment: Plaintiff Ebner stopped while walking, turned

incorrectly, missed heel-to-toe, and took an incorrect number of steps.

(Dkts. 60-2 ¶ 120; 65-1 ¶ 120.)    Plaintiff’s DUI expert reviewed the

dashcam video of the test and saw three of eight clues, though he did not

dispute the fourth clue Officer Carroll claimed to have seen. (Dkts. 60-2

¶ 121; 65-1 ¶ 121.) Ebner also completed other evaluations, as instructed

by Officer Carroll, but did not exhibit any clues suggesting impairment.

(Dkts. 60-2 ¶¶ 122–124; 65-1 ¶¶ 122–124.) Officer Carroll told Plaintiff

Ebner that she was showing signs of having smoked marijuana. She

denied doing so, claiming she had tried marijuana once “like seven years

ago.” (Dkts. 65-2 ¶¶ 46–48; 72 ¶¶ 46–48.)

     Based on the totality of the circumstances (i.e., Ebner’s driving

violation, personal contact, and field evaluations), Officer Carroll

believed he had probable cause to arrest Ebner for driving while impaired

because of marijuana consumption. (Dkts. 60-2 ¶ 126; 65-1 ¶ 126.) He

thus handcuffed Plaintiff Ebner, placing her under arrest. (Dkts. 65-2

¶ 49; 72 ¶ 49.)   Plaintiffs’ expert does not dispute the existence of

probable cause to arrest. (Dkts. 60-2 ¶ 127; 65-1 ¶ 127.)



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     Officer Carroll read her an implied consent warning under Georgia

law, which requires a person to submit to a blood test or otherwise forfeit

his or her license for one year. GA. CODE ANN. § 40–5–67.1. Ebner

consented to the blood test, though Plaintiffs claim her consent was not

voluntary because “she thought that when an officer tells you to do

something, you do it.” (Dkts. 60-2 ¶ 128; 65-1 ¶ 128; 65-2 ¶ 34.) Officer

Carroll issued two criminal citations, one for DUI and one for failure to

maintain lane/improper lane change. (Dkts. 60-2 ¶ 129; 65-1 ¶ 129.)

Officer Carroll detained Plaintiff Ebner for twenty minutes before

placing her under arrest. (Dkts. 60-2 ¶ 130; 65-1 ¶ 130.)

     A subsequent test of Ebner’s blood was negative for drugs, and the

prosecutor dismissed all charges. (Dkts. 60-2 ¶ 132; 65-1 ¶ 132.)

           2.    Plaintiff Princess Mbamara

     After attending a party on the evening of March 26, 2016, Plaintiff

Mbamara was driving to meet friends. (Dkts. 60-2 ¶ 137; 65-1 ¶ 137.) A

few minute before midnight, Officer Carroll saw her enter a freeway on-

ramp, fail to maintain her lane, and weave within her lane. (Dkts. 60-2

¶ 138; 65-1 ¶ 138.) Officer Carroll activated his blue lights and stopped

her. (Dkts. 60-2 ¶ 141; 65-1 ¶ 141.)



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     Plaintiff Mbamara admits she drove her car across lane dividers,

straddled the lane divider line, and weaved within the lane. (Dkts. 60-2

¶ 142; 65-1 ¶ 142.) She claims she did so because of a car parked on the

shoulder of the on-ramp. (Dkts. 60-2 ¶ 140; 65-1 ¶ 140.) Again, having

reviewed the dashcam video, Plaintiffs’ expert also agrees that Plaintiff

Mbamara crossed the broken white lane lines, drifted to the far left of her

lane, and weaved in her lane. (Dkts. 60-2 ¶ 143; 65-1 ¶ 143.)

     After telling Plaintiff Mbamara why he had pulled her over, Officer

Carroll noticed that her eyes were bloodshot as she explained she did not

know where she was going.       (Dkts. 60-2 ¶ 146; 65-1 ¶ 146.)    Officer

Carroll also testified that he observed eyelid tremors, which his training

taught him to recognize as a general indicator of cannabis consumption.

(Dkts. 60-2 ¶ 147; 65-1 ¶ 147.) Officer Carroll testified he noticed a

marked reddening of Plaintiff Mbamara’s conjunctiva, which (again) he

had been trained to recognize as an indicator of cannabis consumption.

(Dkts. 60-2 ¶ 149; 65-1 ¶ 149.) He then used a light source to observe

Plaintiff’s Mbamara’s pupils which appeared normal, but he observed her

eyes were unable to converge, which he had been taught to recognize as

an indicator of cannabis consumption.      (Dkts. 60-2 ¶¶ 152–153; 65-1



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¶¶ 152–153.) He required Plaintiff Mbamara to perform field sobriety

tests.      As with Plaintiff Ebner, Plaintiff Mbamara’s performance

returned some results suggesting impairment while others did not. For

example, on the walk and turn test, she exhibited four of eight clues for

impairment, she stopped while walking, turned incorrectly, missed heal-

to-toe, and took an incorrect number of steps. (Dkts. 60-2 ¶ 157; 65-1

¶ 157.) Plaintiff’s expert reviewed the dashcam video and confirmed

three of the eight clues and did not dispute the fourth clue Officer Carroll

claims to have seen. (Dkts. 60-2 ¶ 158; 65-1 ¶ 158.) On the one-leg stand

evaluation, Plaintiff swayed, exhibiting one clue of impairment. (Dkts.

60-2 ¶ 159; 65-1 ¶ 159.)        While Plaintiff Mbamara denies that she

swayed, her expert reviewed the dashcam video and agrees with Officer

Carroll. (Dkts. 60-2 ¶ 160; 65-1 ¶ 160.) Plaintiffs dispute the underlying

validity of these indicators. (Dkts. 60-2 ¶¶ 150–156; 65-1 ¶ 150–156.)

         Based on the totality of the circumstances, Officer Carroll believed

he had probable cause to arrest Mbamara for being impaired due to

marijuana consumption. (Dkts. 60-2 ¶ 163; 65-1 ¶ 163.) Plaintiff’s DUI

expert does not dispute Officer Carroll’s conclusion that he had probable

cause to arrest her.       (Dkts. 60-2 ¶ 164; 65-1 ¶ 164.)     Officer Carroll



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detained Plaintiff Mbamara for nineteen minutes before placing her

under arrest. (Dkts. 60-2 ¶ 168; 65-1 ¶ 168.) Her toxicology reports also

were negative for drugs use, and the prosecutor dropped all charges.

(Dkts. 60-2 ¶ 170; 65-1 ¶ 170.)

            3.   Plaintiff Brittany Penwell

     Shortly before midnight on March 11, 2016, Plaintiff Brittany

Penwell was driving in Austell, Georgia. (Dkts. 60-2 ¶ 172; 65-1 ¶ 172.)

She was following her cousin who had been pulled over earlier that day

for driving on a suspended license. (Dkts. 65-2 ¶ 212; 72 ¶ 212.) Officer

Carroll testified that he observed her cross onto the double yellow lane

divider with her driver side tires and then again cross onto the double

yellow line as she negotiated a turn. (Dkts. 60-2 ¶ 174; 65-1 ¶ 174.)

Based on his observations, Officer Carroll activated his blue lights and

stopped her. (Dkts. 60-2 ¶ 175; 65-1 ¶ 175.)

     Plaintiff Penwell acknowledges that she touched the yellow line but

does not admit she committed any traffic offense. (Dkts. 60-2 ¶ 176; 65-

1 ¶ 176.)   Plaintiffs’ expert reviewed the dashcam video and agrees

Penwell crossed onto the double yellow line. (Dkts. 60-2 ¶ 177; 65-1

¶ 177.)



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        Officer Carroll testified that once he approached the vehicle, he

immediately detected a floral cover-up odor coming from the interior of

Penwell’s car, something his training had taught him was a possible

indicator of cannabis consumption.          (Dkts. 60-2 ¶ 179; 65-1 ¶ 179.)

Plaintiff Penwell says she merely had an air freshener hanging from her

rear-view mirror, though this is not inherently inconsistent with Officer

Carroll’s observation of a “cover-up odor.” (Dkts. 60-2 ¶ 179; 65-1 ¶ 179.)

Officer Carroll observed that her eyes were bloodshot, a fact Penwell

admits, as she had been crying. (Dkts. 60-2 ¶¶ 180–181; 65-1 ¶¶ 180–

181.)

        Officer Carroll asked Plaintiff Penwell who she was following, and

she said she did not know. (Dkts. 65-2 ¶ 219; 72 ¶ 219.) That was a lie.

She lied to Officer Carroll because she was scared her cousin would get

in trouble. (Dkts. 65-2 ¶ 219; 72 ¶ 219.) When confronted, she admitted

not telling the truth.     (Id.)   Officer Carroll and another officer then

arrested her cousin before returning to Plaintiff Penwell. (Dkts. 65-2

¶ 220; 72 ¶ 220.)

        In addition to noting that her eyes were red, Officer Carroll shined

a light into Plaintiff Penwell’s eyes and noticed that she had rebound



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dilation and eyelid tremors — both things he believed to indicate

cannabis use. (Dkts. 60-2 ¶¶ 181–182; 65-1 ¶¶ 181–182.) Officer Carroll

conducted voluntary field sobriety tests, with some returning results

showing impairment and others not. He observed three of eight clues

suggesting impairment, including a missed heel-to-toe, walking off the

line, and raising her arms for balance. (Dkts. 60-2 ¶ 191; 65-1 ¶ 191.) He

also observed that she swayed during the instructional stage of the

evaluation. (Dkts. 60-2 ¶ 191; 65-1 ¶ 191.) Plaintiffs’ DUI expert does

not dispute that Penwell exhibited three of the eight clues and that she

was swaying. (Dkts. 60-2 ¶ 192; 65-1 ¶ 192.) She denied “smoking weed”

but admitted smoking a “black and mild” cigar. (Dkts. 60-2 ¶ 199; 65-1

¶ 199.)

     Based on his observations, Officer Carroll believed he had probable

cause to arrest Plaintiff Penwell for being an impaired and less safe

driver because of marijuana consumption, and Plaintiffs’ expert did not

dispute Officer Carroll’s decision. (Dkts. 60-2 ¶ 200; 65-1 ¶ 200.) Officer

Carroll detained Plaintiff Penwell for no more than thirty-two minutes4



4Although the parties dispute the specific amount of time — the incident
with Penwell’s cousin tacked on additional time because Officer Carroll


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before placing her under arrest. (Dkts. 60-2 ¶ 204; 65-1 ¶ 204.) Plaintiff

Penwell’s blood test toxicology report returned negative results, and the

charges against her were also dropped. (Dkts. 60-2 ¶ 206; 65-1 ¶ 206.)

           4.    Plaintiff Ayokunle Oriyomi

     On June 12, 2016, Plaintiff Ayokunle Oriyomi and a friend were

driving home from a party at Kennesaw State University. (Dkts. 60-2

¶¶ 208–209; 65-1 ¶¶ 208–209.) Plaintiff Oriyomi was driving and admits

that his friend and other people at the party had been smoking

marijuana. (Dkts. 60-2 ¶ 210; 65-1 ¶ 210.)

     Cobb County Police Sergeant G.L. Johnson saw Plaintiff Oriyomi

fail to maintain his lane and drift multiple times back and forth, touching

lane line dividers several times. (Dkts. 60-2 ¶ 212; 65-1 ¶ 212.) Having

reviewed the dashcam video, Plaintiff’s DUI expert agrees that Plaintiff

Oriyomi drifted, struck the lane lines, and swerved while driving his car.

(Dkts. 60-2 ¶ 215; 65-1 ¶ 215.) After making a traffic stop, Sergeant

Johnson spoke with Plaintiff Oriyomi and noticed he had “glassy” eyes.




had to investigate that vehicle, too — the exact amount of time is
immaterial to the Court’s determination here. (Dkts. 60-2 ¶ 204; 65-1
¶ 204.)

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(Dkts. 60-2 ¶ 216; 65-1 ¶ 216.)    A few minutes later, Officer Carroll

arrived at the location. (Dkts. 60-2 ¶ 219; 65-1 ¶ 219.)

     The parties dispute whether a strong odor of marijuana was coming

from inside Plaintiff Oriyomi’s vehicle. Officer Carroll says he smelled it

— an obvious sign of marijuana use. (Dkts. 60-2 ¶ 216; 65-1 ¶ 216.)

Plaintiff Oriyomi testified that he could not smell the marijuana himself

but admits it could have been coming from his friend, who had smoked

marijuana at the party. (Dkt. 56-5 at 57:11–15.) Officer Carroll testified

that he observed Oriyomi’s eyes to be bloodshot and glassy. (Dkts. 60-2

¶ 220; 65-1 ¶ 220.)

     Officer Carroll used a light to look into Plaintiff Oriyomi’s eyes and

saw rebound dilation, reddened conjunctiva, and eyelid tremors — all

things he believed to indicate cannabis consumption. (Dkts. 60-2 ¶¶ 223–

226; 65-1 ¶¶ 223–226.) Officer Carroll then performed field sobriety

tests, which, like the rest of Plaintiffs’ stops, returned some results

suggesting impairment. (Dkts. 60-2 ¶ 224; 65-1 ¶ 224.) Plaintiff’s DUI

expert, like Officer Carroll, also observed Plaintiff Oriyomi exhibit three

of eight clues during the walk-and-turn test, and also observed the use of




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his arms to maintain his balance during the instructional stage. (Dkts.

60-2 ¶ 231; 65-1 ¶ 231.)

     Based on the totality of the circumstances, Officer Carroll believed

he had probable cause to arrest Plaintiff Oriyomi for being an impaired

and less safe driver because of marijuana use. (Dkts. 60-2 ¶ 239; 65-1

¶ 239.) Plaintiffs’ expert does not deny that Officer Carroll had probable

cause. (Dkts. 60-2 ¶ 240; 65-1 ¶ 240.) Sergeant Johnson and Defendant

Carroll detained Plaintiff Oriyomi for twenty-two minutes before placing

him under arrest. (Dkts. 60-2 ¶ 243; 65-1 ¶ 243.) Again, his blood test

was negative for drugs. (Dkts. 60-2 ¶ 245; 65-1 ¶ 245.) Prosecutors

dropped the DUI and reckless driving charges.           Plaintiff Oriyomi,

however, entered a nolo contendere plea for the crime of failure to

maintain a lane. (Dkts. 60-2 ¶ 246; 65-1 ¶ 246.)

           B.    Defendant Cobb County and CCPD Training

     Defendant Cobb County, Georgia, operates CCPD. (Dkts. 60-2 ¶ 1;

65-1 ¶ 1.) While CCPD officers like Officer Carroll are County employees,

the County does not exercise control over or supervise officers’ day-to-

day activities. (Dkts. 60-2 ¶ 2; 65-1 ¶ 2.) At the time of Plaintiffs’ stops

and arrests, the County had in effect CCPD Traffic Enforcement Policy



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5.18, with was intended to reduce fatalities, personal injuries, and

property damage from traffic accidents. (Dkts. 60-2 ¶ 5; 65-1 ¶ 5.)

     All CCPD officers must undergo basic training and obtain

certification by the Peace Officers Safety and Training Council (POST),

the accrediting agency for law enforcement officers in the State of

Georgia.   (Dkts. 60-2 ¶ 6; 65-1 ¶ 6.)     Officers must maintain their

certifications and participate in ongoing training throughout their

employment with CCPD. (Dkts. 60-2 ¶ 6; 65-1 ¶ 6.) CCPD also trains its

officers to respond to and investigate impaired driving and unsafe driving

patterns. (Dkts. 60-2 ¶ 10; 65-1 ¶ 10.)

     Some CCPD officers also receive specialized training to become

certified Drug Recognition Experts. (Dkts. 60-2 ¶ 34; 65-1 ¶ 34.). Many

of the parties’ facts concern the reliability of the Drug Recognition Expert

(“DRE”) protocol. Yet it is undisputed that Officer Carroll never used the

DRE protocol on any of the four Plaintiffs. Plaintiffs contend Officer

Carroll performed the post-arrest DRE twelve-step assessment on

Plaintiff Penwell but cite no meaningful, admissible evidence to support

this claim.   They merely cite Plaintiff Penwell’s declaration that “I

learned later that Officer Carroll wrote down that he did a 12-step



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evaluation on me at the police station.” (Dkt. 65-6 ¶ 50.) The declaration

statement, however, does not undermine the undisputed fact that Officer

Carroll did not perform the DRE protocol on any of the four Plaintiffs: “I

did not perform the post-arrest DRE 12-step assessment on any of the

four (4) plaintiffs as I did not believe it was necessary based on their

respective driving manifestations and road-side evaluations yielding

probable cause.” (Dkt. 60-4 ¶ 43.) The facts about the DRE protocol and

its reliability (or lack thereof) are thus immaterial to the Court’s

summary judgment determination.

      Following their arrests, Plaintiffs sued Officer Carroll and Cobb

County for unlawful seizure, false arrest, unlawful search and seizure,

and malicious prosecution in violation of their Fourth Amendment rights

under 42 U.S.C. § 1983. (Dkt. 9 at 16–19.) Defendants now move for

summary judgment. (Dkt. 60.)

II.   Legal Standard

      Rule 56 of the Federal Rules of Civil Procedure provides that a court

“shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A factual dispute is



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genuine if the evidence would allow a reasonable jury to find for the

nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). And a fact is “material” if it is “a legal element of the claim under

the applicable substantive law which might affect the outcome of the

case.” Allen v. Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997).

     The party moving for summary judgment bears the initial burden

of showing a court, by reference to materials in the record, that there is

no genuine dispute as to any material fact that a jury should decide at

trial. Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1260 (11th Cir.

2004) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). A moving

party meets this burden merely by “ ‘showing’—that is, pointing out to

the district court—that there is an absence of evidence to support the

nonmoving party’s case.” Celotex, 477 U.S. at 325. The movant, however,

need not negate the other party’s claim. Id. at 323. In determining

whether the moving party has met this burden, a court must view the

evidence and all reasonable factual inferences in the light most favorable

to the party opposing the motion. Johnson v. Clifton, 74 F.3d 1087, 1090

(11th Cir. 1996).




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     Once the movant has adequately supported its motion, the

nonmoving party then has the burden of showing that summary

judgment is improper by coming forward with specific facts showing a

genuine dispute. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

U.S. 574, 587 (1986). Ultimately, there is no genuine dispute for trial

when the record as a whole could not lead a rational trier of fact to find

for the nonmoving party. Id. But “the mere existence of some alleged

factual dispute between the parties will not defeat an otherwise properly

supported motion for summary judgment; the requirement is that there

be no genuine issue of material fact.” Anderson, 477 U.S. at 247–48. The

court, however, resolves all reasonable doubts in the favor of the non-

movant. Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993).

III. Discussion

     Plaintiffs assert claims against Defendant Officer Carroll under

§ 1983 for Fourth Amendment violations including (1) unlawful seizure

during the field sobriety tests, (2) false arrest, (3) unlawful search and

seizure during the blood testing, and (4) malicious prosecution. They also

seek to assert Monell municipal liability against Defendant Cobb County

for each of these constitutional violations. Defendants argue Plaintiffs



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have not come forward with evidence from which a reasonable jury could

conclude that a constitutional violation occurred because Officer Carroll

had probable cause to stop each Plaintiff for traffic violations and then to

investigate them for driving under the influence. They alternatively

argue that qualified immunity shields Officer Carroll from liability

because at a minimum, arguable probable cause supported his actions.

The Court agrees.

     A.    Qualified Immunity

     “Qualified immunity offers complete protection for government

officials sued in their individual capacities if their conduct does not

violate clearly established statutory or constitutional rights of which a

reasonable person would have known.” Vinyard v. Wilson, 311 F.3d 1340,

1346 (11th Cir. 2002) (internal quotation marks omitted). So “[q]ualified

immunity gives government officials breathing room to make reasonable

but mistaken judgments about open legal questions.” Ashcroft v. al-Kidd,

563 U.S. 731, 743 (2011).        It allows officials to “carry out their

discretionary duties without the fear of personal liability or harassing

litigation.” Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir. 2002). When

properly applied, qualified immunity thus “protects all but the plainly



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incompetent or those who knowingly violate the law.” al-Kidd, 563 U.S.

at 743 (internal quotation marks omitted).

     Qualified immunity may attach only when the officer is “acting

within the scope of his discretionary authority when the allegedly

wrongful acts occurred.” Grider v. City of Auburn, 618 F.3d 1240, 1254

n.19 (11th Cir. 2010). The parties agree that Officer Carroll was acting

within his discretionary duties. (Dkts. 60-2 ¶ 82; 65-1 ¶ 82.) Plaintiffs

thus have the burden of showing that qualified immunity is unavailable

to him. See Lee, 284 F.3d at 1194.

      The qualified immunity analysis presents two questions: first,

whether the allegations, taken as true, establish the violation of a

constitutional right; and second, if so, whether the constitutional right

was clearly established when the violation occurred. Hadley v. Gutierrez,

526 F.3d 1324, 1329 (11th Cir. 2008). These distinct questions “do not

have to be analyzed sequentially.” Fils v. City of Aventura, 647 F.3d 1272,

1287 (11th Cir. 2011). Instead, a court may address them in either order,

although a plaintiff’s failure on either prong dooms his or her claims. Id.

     On summary judgment, the burden thus lies with Plaintiffs to show

that Officer Carroll’s actions violated the relevant constitutional right



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and that the right was clearly established at the time. See Hadley, 526

F.3d at 1329.

             1.    Plaintiffs’ § 1983 Claims Against Officer Carroll

        The Court first considers whether Officer Carroll’s initial traffic

stops of Plaintiffs’ vehicles were constitutionally proper.          It then

considers the propriety of Plaintiffs’ subsequent arrests.

                   a.   The Initial Investigatory Traffic Stops

        Officer Carroll says he is entitled to qualified immunity against

claims he violated Plaintiff’s constitutional rights when he stopped their

cars.    “When an officer asserts qualified immunity, the issue is not

whether reasonable suspicion existed in fact, but whether the officer had

‘arguable’ reasonable suspicion to support an investigatory stop.”

Jackson v. Sauls, 206 F.3d 1156, 1166 (11th Cir. 2000). “It is axiomatic

that an officer may, consistent with the Fourth Amendment, conduct a

brief investigatory stop when the officers has a reasonable, articulable

suspicion that criminal activity is afoot.” Reid v. Henry Cty., 568 F. App’x

745, 748 (11th Cir. 2014) (quoting Illinois v. Wardlow, 528 U.S. 119, 124

(2000)). While “ ‘reasonable suspicion’ is a less demanding standard than

probable cause and requires a showing considerably less than



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preponderance of the evidence, the Fourth Amendment requires at least

a minimal level of objective justification for making the stop.” Wardlow,

528 U.S. at 123. A court must examine the totality of the circumstances

to determine whether an officer had reasonable suspicion for a stop,

based on the facts “known to the officer at the time of the stop.” Reid,

568 F. App’x at 748. “[T]he officer’s motive in making the traffic stop does

not invalidate what is otherwise objectively justifiable behavior under

the Fourth Amendment.” United States v. Harris, 526 F.3d 1334, 1337

(11th Cir. 2008) (internal quotation marks omitted).

      The Court holds that, based on the totality of the circumstances —

and the facts known to Officer Carroll at the time of each stop — arguable

reasonable suspicion existed to support each investigatory stop. See

Jenkins v. Gaither, 543 F. App’x 894, 897 (11th Cir. 2013) (finding no

constitutional violation because officer had reasonable suspicion to stop

plaintiff’s vehicle).   Georgia law provides that “[a] person shall not

drive . . . any moving vehicle while[ ] [u]nder the influence of alcohol [or

any drug] to the extent that it is less safe for the person to drive.” GA.

CODE ANN. § 40–6–391(a). Georgia law also provides that “[a] vehicle

shall be driven as nearly as practicable entirely within a single lane and



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shall not be moved from such lane until the driver has first ascertained

that such movement can be made with safety.” Id. § 40–6–48(1). And

under Georgia law, “[i]t is well established that weaving, both out of one’s

lane and within one’s lane, particularly when combined with other

factors, may give rise to reasonable articulable suspicion on the part of a

trained law enforcement officer that the driver is violating the DUI laws.”

Ivey v. State, 689 S.E.2d 100, 102 (Ga. Ct. App. 2009).

     Even if reasonable suspicion did not in fact exist, an officer in

Officer Carroll’s position had at least “arguable reasonable suspicion to

support [the stops].” See Jackson, 206 F.3d at 1166. Officer Carroll

testified that he observed each Plaintiff cross or touch the painted lines

dividing the roadway or make an improper turn, in violation of Georgia

law. Each incident occurred late at night and in darkness. Having

reviewed each dashcam video, Plaintiffs’ expert likewise did not disagree

with Officer Carroll’s evaluation that each Plaintiff did something worthy

of an investigatory stop.

     Finally, the Court has reviewed the available dashcam footage of

each stop. The Court similarly finds the footage supports the otherwise

undisputed fact that each Plaintiff violated Georgia law in such a way to



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prompt Officer Carroll to begin an investigatory traffic stop. And “[a] law

enforcement officer may legally stop an automobile traveling on the

highways if he has probable cause to believe that a traffic violation has

occurred.” United States v. Purcell, 236 F.3d 1274, 1276 n.5 (11th Cir.

2001) (citing Whren v. United States, 517 U.S. 806, 810 (1996)).

     Plaintiffs assert that “[a] stop based solely on the ‘hyper-technical’

violation of ‘lane touching’ without more, cannot be legally justified” and

cite United States v. Hernandez, 17 F. Supp. 3d 1255, 1257 (N.D. Ga.

2014). (Dkt. 65 at 9.) The Court does not disagree with that assertion

generally but finds it inapplicable here. In Hernandez, the district court

held the officer had no reasonable suspicion to stop the criminal

defendant’s vehicle because the officer admittedly instituted the early

Sunday afternoon stop “solely and strictly based on [the driver’s]

purported technical violation of touching the line of her lane while

driving on two occasions.” 17 F. Supp. 3d at 1257. And there was no

“additional” conduct that created a reasonable suspicion of other criminal

conduct. Id. at 1258.

     There was additional conduct here. Each of these stops occurred

late at night (not Sunday afternoon) when impaired driving is more likely



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and when, based on Officer Carroll’s experience, drivers under the

influence commonly fail to maintain their lanes. See United States v.

Bryson, No. 1:13-CR-09-ODE-GGB, 2013 WL 5739055, at *5 (N.D. Ga.

Oct. 21, 2013) (finding reasonable suspicion based on similar facts).

Moreover, in Hernandez, the officer admitted he followed the defendant

with the specific plan to stop her for a traffic violation before she could

leave the county. 17 F. Supp. 3d at 1260. No evidence suggests Officer

Carroll targeted these Plaintiffs or deliberately sought a pretext to stop

them. Instead, the undisputed evidence shows he stopped each Plaintiff

because, based on the totality of the circumstances and the facts within

his knowledge, he observed traffic violations prompting a reasonable

suspicion of other criminal conduct.

     “And it is by now well-settled law that the reasonable suspicion

inquiry focuses on the information available to the officers at the time of

the stop[,] not information that the officers might later discover.” United

States v. Lewis, 674 F.3d 1298, 1305 (11th Cir. 2012). The standard thus

“must be judged not with clinical detachment[ ] but with a common-sense

view to the realities of normal life.” Smallwood v. Ainsworth, 542 F.

App’x 807, 809 (11th Cir. 2013) (internal quotation marks omitted). So



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based on the totality of the circumstances — and the information

available to an officer in Officer Carroll’s position — the Court holds he

had arguable reasonable suspicion to stop each of the four Plaintiffs. See

Llorente v. Demings, 743 F. App’x 327, 329 (11th Cir. 2018) (“[C]ourts

should examine the question of qualified immunity by asking whether

the official acted reasonably under the circumstances at the time the

events in question were occurring, not some time period later.”) (quoting

Hunter v. Bryant, 502 U.S. 224, 228 (1991)). Because arguable probable

cause existed to stop each Plaintiff and conduct an investigatory stop,

Officer Carroll is entitled to summary judgment on Plaintiffs’ § 1983

claim for unlawful seizure.5




5 The Court likewise holds that Plaintiffs’ detentions were no longer than
reasonably necessary and that no genuine dispute of material fact exists
about this. See United States v. Harris, 928 F.2d 1113, 1117 (11th Cir.
1991) (“Where . . . the initial stop was legal, the officer had the duty to
investigate suspicious circumstances that then came to his attention.”
(internal quotation marks omitted) (alterations adopted)). Beyond
Plaintiffs’ disagreement with the actual field sobriety tests themselves,
which they claim Officer Carroll conducted without probable cause,
Plaintiffs present, and the Court can find, nothing in the record to
suggest Officer Carroll otherwise improperly extended the scope or
duration of the investigatory traffic stops.

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                 b.    Arrests for Driving Under the Influence

     The Court must next determine whether arguable probable cause

existed to arrest Plaintiffs for driving under the influence. If Officer

Carroll had probable cause to arrest them, their claims for false arrest

and malicious prosecution must necessarily fail.

     “Probable cause is ‘a standard well short of absolute certainty.’ ”

Smallwood, 542 F. App’x at 809 (quoting L.A. Cty. v. Rettelle, 550 U.S.

609, 615 (2007)). An officer has probable cause to arrest “if the facts and

circumstances within the officer’s knowledge, of which he has reasonably

trustworthy information, would cause a prudent person to believe, under

the circumstances shown, that the suspect has committed, is committing,

or is about to commit an offense.” Carter v. Butts Cty., 821 F.3d 1310,

1319 (11th Cir. 2016); see also Boyd v. State, 658 S.E.2d 782, 784 (Ga. Ct.

App. 2008) (internal quotation marks omitted) (alterations adopted)

(finding probable cause “if, considering the totality of the circumstances,

at the time of arrest he had a reasonable belief that the defendant had

committed a crime in his presence or within his knowledge”).

     The test for qualified immunity is not whether the officer had actual

probable cause to support the arrest. All federal courts recognize the



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“inevitab[ility] that law enforcement officials will in some cases

reasonably but mistakenly conclude that probable cause is present,” and

that, in such cases, the law should not hold officers personally liable for

their reasonable mistakes. Anderson v. Creighton, 483 U.S. 635, 641

(1987). Qualified immunity thus extends to arrests based on arguable

probable cause, which exists if a reasonable officer, in the same

circumstances and possessing the same knowledge as the officer in

question, “could have believed under the totality of the circumstances

that probable cause existed to arrest.” Brienza v. Gee, 307 F. App’x 352,

353 (11th Cir. 2009) (emphasis added). In other words, “[e]ven without

actual probable cause . . . a police officer is entitled to qualified immunity

if he had only ‘arguable’ probable cause to arrest the plaintiff.” Gates,

884 F.3d at 1298.

      The elements of the alleged crime and the facts of the case

determine whether an arresting officer possesses probable cause or

arguable probable cause. Crosby v. Monroe Cty., 394 F.3d 1328, 1333

(11th Cir. 2004). The existence of probable cause at the time of arrest,

however, constitutes an absolute bar to a Section 1983 action for false

arrest and malicious prosecution. See Wood v. Kesler, 323 F.3d 872, 882



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(11th Cir. 2003) (holding existence of “probable cause bars his § 1983

malicious prosecution claim”); Marx v. Gumbinner, 905 F.2d 1503, 1505–

06 (11th Cir. 1990) (“The existence of probable cause . . . is an absolute

bar to a section 1983 action for false arrest.”).

      Given the undisputed facts, the Court holds that a reasonable

officer in Officer Carroll’s position could have concluded that probable

cause existed to arrest Plaintiffs for DUI violations. First, the Court has

already determined that Officer Carroll had a reasonable, articulable

suspicion to make the investigatory stops of each Plaintiff’s car. This

weighs in favor of a finding of arguable probable cause.

      He saw Plaintiff Ebner cross the double-yellow line when making a

left turn and then cross over the white fog lane and drive out of the lane

of travel for a few seconds before returning to the proper lane of travel.

It was late (nearly midnight) and dark outside. Plaintiff Ebner also

agreed that she “turned improperly.” Plaintiffs’ expert also agreed that

she crossed over the double yellow lines and that she then crossed over

the white fog line. He also observed Plaintiff Mbamara weaving in her

lane and saw Plaintiff Penwell cross a double-yellow line when taking a




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turn.     Finally, he received information from Sergeant Johnson that

Plaintiff Oriyomi was weaving in his lane.

        Officer Carroll’s observations at the scene of the traffic stop (or the

information he received from Sergeant Johnson) thus underscore that

arguable probable cause existed to arrest Plaintiffs for DUI. The late-

night hour of the traffic stops (all around midnight) further strengthens

the basis for arguable probable cause. For instance, the parties agree —

and commonsense dictates — that impaired driving is a serious problem

and motorists driving late at night and weaving provides grounds for

suspicion that the driver might be impaired. (Dkts. 60-2 ¶ 97; 65-1 ¶ 97.)

It is also undisputed that Officer Carroll was an extraordinarily

experienced and well-trained officer, and he may rely on his training and

experience in making a probable cause determination.

        Officer Carroll had information that each Plaintiff committed at

least one traffic infraction, justifying his initial investigatory stops of

their vehicles. See Terrell v. Smith, 668 F.3d 1244, 1251–52 (11th Cir.

2012) (“[A] law enforcement officer may stop a vehicle for violating traffic

laws or applicable equipment regulations.”). When he examined their

eyes, he observed things like red and watery eyes, reddened conjunctiva,



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rebound dilation and eyelid tremors — all things he had been trained to

view as signs of cannabis use. While conducting field sobriety testing, he

observed each Plaintiff exhibit several clues suggesting some level of

impairment.    After viewing the dashcam videos of the encounters,

Plaintiffs’ expert did not dispute that probable cause existed to arrest

each of the four Plaintiffs for impaired driving. This buttresses the

Court’s determination that the undisputed facts show that Officer Carroll

had at least arguable probable cause to arrest Plaintiffs for DUI. (Dkts.

60-2 ¶ 94; 65-1 ¶ 94.)

     Plaintiffs provide the Court with a flood of immaterial facts to try

to explain why Plaintiffs drove, behaved, appeared, or performed as they

did on each of the nights that they encountered Officer Carroll. For

instance, they explain that Plaintiff Penwell had been crying because her

father had died a year before, thus explaining her admittedly watery and

red eyes. (Dkt. 65-2 ¶ 211.) They also assert that Plaintiff Ebner had

cleaned the tortilla chip machine at work before leaving, thus causing her

eyes to water. (Id. ¶ 9.) And Plaintiff Mbamara was driving to a friend’s

house to break her Good Friday fast and was unfamiliar with the




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directions.   (Id. ¶ 78.)   These facts may all be true.     But they are

immaterial.

     In looking at both the propriety of the initial traffic stops and the

appropriateness of the DUI arrests, the Court does not concern itself with

after-the-fact explanations for why someone’s eyes were watery or where

the driver was intending to go. The Court also does not consider actions

Plaintiffs contend Officer Carroll should have taken. For instance, they

argue that Officer Carroll “did not rule out other explanations for eye

redness such as whether she wore contacts or had other medical issues.”

(See id. ¶ 267; Dkt. 72 ¶ 267.) Of course, in looking at the events with

the benefit of hindsight, Officer Carroll could have taken many different

actions and asked many different questions. But as stated above, the

Court bases its analysis on the record evidence of the circumstances

Officer Carroll confronted at the time, not from the perspective of its

peaceful chambers. See Piazza v. Jefferson Cty., 923 F.3d 947, 953 (11th

Cir. 2019).   The Court does not second-guess the judgment of law

enforcement officers with “could haves” and “should haves” laid out by

lawyers during litigation but rather considers the officers’ judgment in

the context and in the field. See Williams v. Deal, 659 F. App’x 580, 596



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(11th Cir. 2016) (recognizing that courts “usually don’t second-guess the

decisions made by police officers in the field” (internal quotation marks

omitted)).

     So the fact that each of the four Plaintiffs’ drug toxicology reports

returned negative results and the charges were later dropped6 does not

impact the Court’s analysis. Plaintiffs also contend that Officer Carroll

made several errors while conducting the field sobriety tests. But again,

these assertions come with the benefit of hindsight — specifically

Plaintiffs’ analysis of the dashcam video. See Smallwood v. Ainsworth,

No. 1:11-cv-03835-JOF, 2013 WL 12123773, at *2 n.2 (N.D. Ga. Mar. 5,

2013), aff’d, 542 F. App’x 807 (11th Cir. 2013) (finding arguable probable

cause based on totality of the circumstances, despite accusations from the

plaintiff’s expert of improper administration of field sobriety tests).

“Because ‘arguable probable cause’ is determined by the facts and

circumstances present at the time of the arrest, the results of [the

arrestee’s drug or alcohol tests] are irrelevant to the question of whether

a Fourth Amendment violation occurred when” Officer Carroll arrested


6Plaintiff Oriyomi entered a nolo contendre plea for his charges but the
prosecutor decided to drop or not bring charges against the other three
Plaintiffs. (See Dkt. 65-1 ¶¶ 133, 171, 207, 246.)

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Plaintiffs Ebner, Mbamara, Oriyomi, and Penwell. See Brienza, 307 F.

App’x at 354 (internal citation omitted). “With the benefit of hindsight,

it appears that [Plaintiffs] should not have been arrested for driving

under the influence.” Id. But the undisputed facts show that Officer

Carroll had “arguable probable cause” to arrest each Plaintiff on the DUI

charge.7 See Smallwood, 542 F. App’x at 809–10 (affirming finding that

custodial DUI arrest was proper where probable cause existed to believe

that motorist appeared to drift in her lane and then furnished some clues

of impairment in field sobriety tests).

     But even if Defendant Carroll did not have arguable probable cause

to arrest Plaintiffs for DUIs, he had arguable probable cause to arrest

them for their traffic violations. “The existence of a traffic violation can

provide an officer with arguable probable cause to make an arrest, even

though the offense is minor or normally punishable by a monetary

citation, even if the officer had no knowledge of that violation at the




7 Because Officer Carroll had arguable probable cause to arrest each
Plaintiff for DUI, their claims related to their toxicology blood draws
likewise must fail. Their voluntary consent to the blood draws also
otherwise independently forecloses their claims. See Birchfield v. North
Dakota, 136 S. Ct. 2160, 2185 (2016) (“It is well established that a search
is reasonable when the subject consents.”).

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time.” Reid, 568 F. App’x at 748. Indeed, “an arrest may be for a different

crime from the one for which probable cause actually exists, . . . but

arguable probable cause to arrest for some offense must exist in order for

officers to assert qualified immunity from suit.” Wilkerson v. Seymour,

736 F.3d 974, 979 (11th Cir. 2013) (internal citations omitted). The Court

finds that standard met here.

     Officer Carroll witnessed, and each Plaintiff admitted or did not

dispute, that they committed one or more driving infractions that led to

the traffic stop. (Dkts. 56-1 at 29:1–12, 29:22–30:1 (Plaintiff Penwell

admitted she crossed the double yellow line more than once); 56-2 at

48:19–25, 49:1–13 (Plaintiff Mbamara agreed that she switched lanes

and was weaving); 56-3 at 38:9–11, 41:19–20 (Plaintiff Ebner agreed she

turned improperly); 56-5 at 56:5–10 (Plaintiff Oriyomi admitting he

failed to maintain his lane). A thorough review of the dashcam footage

likewise does not put any of this into genuine dispute. See Shaw v. City

of Selma, 884 F.3d 1093, 1098 (2018) (citations omitted) (alterations

accepted) (“[I]n cases where a video in evidence obviously contradicts the

nonmovant’s version of the facts, [a court] accept[s] the video’s depiction

instead of the nonmovant’s account and view[s] the facts in the light



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depicted by the videotape.”) Neither party has disputed the accuracy or

authenticity of the dashcam videos or suggested they are untrustworthy.

As a result, the Court “accept[s] facts clearly depicted in a video recording

even if there would otherwise be a genuine issue about the existence of

those facts.” Id. at 1097 n.1.

     Plaintiffs’ expert likewise agreed with Officer Carroll’s assessments

and did not disagree that he had probable cause to arrest each Plaintiff.

And the Fourth Amendment does not forbid a warrantless arrest for a

minor offense. See Atwater v. City of Lago Vista, 532 U.S. 318, 354 (2001)

(“If an officer has probable cause to believe that an individual has

committed even a very minor criminal offense in his presence, he may,

without violating the Fourth Amendment, arrest the offender.”).

     Plaintiffs misapply the applicable standard throughout their brief.

They seem to assume that, in order for probable cause to exist,

Defendants have to show that every officer and every juror would agree

that probable cause existed. They specifically assert that “[a] reasonable

jury could conclude after viewing each Plaintiffs’ dashcam videos and

considering other evidence that . . . there was no probable cause or

reasonable suspicion to stop them.” (Dkt. 65 at 17–18.) In determining



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whether probable cause (or arguable probable cause) existed, a court

inquires into whether an officer could reasonably believe probable cause

to arrest or reasonable suspicion to stop existed. And the undisputed

facts show that it arguably did.

     Ultimately, Plaintiffs’ gripes are with the law enforcement system

generally, including the “voluntariness” of voluntary consent once a cop

pulls over an individual, along with the unfortunate aftereffects arising

from a DUI arrest for which the person was not in fact drunk or high.

(See Dkt. 65-2 ¶¶ 57–60.) An encounter with a police officer like the ones

at issue here may be a nerve-wracking experience.         A driver might

perform poorly on the field sobriety tests, not because he or she is

impaired by drugs or alcohol, but because of nerves, fear, tiredness, or

embarrassment.      But, that does not automatically give rise to a

constitutional violation.

     And while it seems minor in hindsight, and when viewed with the

later-learned knowledge that none of the Plaintiffs tested positive for

drugs, a court is not to consider facts beyond what was known to the

officers at the time of detention. See United States v. Lewis, 674 F.3d at

1305 (holding district court erred by considering facts beyond what



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officers knew “at the time of the detention”). The Court holds that no

constitutional violation occurred in Officer Carroll’s execution of the

arrests of each of the four Plaintiffs and that he is entitled to qualified

immunity on Plaintiff’s claims for false arrest and malicious prosecution.8

     B.    Monell Claims against Defendant Cobb County

     Finally, because Plaintiffs did not suffer any constitutional

deprivations, they cannot recover from the County under section 1983.

See Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978); see also Montanez

v. City of Orlando, 678 F. App’x 905, 912 n.3 (11th Cir. 2017) (per curiam)

(“Because we conclude that no violation of [plaintiff’s] constitutional

rights occurred, we need not consider whether the City had an official

policy.”). The Court alternatively finds that Plaintiffs have failed even to

plead adequately a formal or informal policy that could support liability

against Defendant Cobb County.9 For these reasons, the Court thus



8 The Court likewise holds that Plaintiffs have failed to show that the law
was clearly established at the time of each incident and have failed to
point to materially similar precedent putting every officer on notice that
this conduct would be unconstitutional. None of the cases Plaintiffs cite
do this. (See Dkt. 65 at 43–44.) For this alternative reason, the Court
finds Officer Carroll entitled to qualified immunity.
9 The record also contains no evidence sufficient to survive summary

judgment. Interestingly, the Court notes that Defendants did not file a


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grants summary judgment to Defendants on that issue and dismisses all

claims against Defendant Cobb County.

IV.   Conclusion

      The Court GRANTS Defendants Officer Tracy Carroll and Cobb

County’s Motion for Summary Judgment (Dkt. 60).

      SO ORDERED this 9th day of March, 2020.




dispositive motion to dismiss the County as a party defendant before the
start of discovery, despite now asserting that Plaintiffs’ claim against it
would not survive a motion to dismiss. (Dkt. 60-1 at 17.)

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